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ument 1-
' 24/2007 First Judiclal nistrict court - Boun ar}:ESQnQ§/ZWW P<'J\Q€ 1 Of &Oser: TAC|E
;36 PM ROA Reporc `
a§e`-of 1 Case: CV-2007-0000075 Current Judge: Steve \/erby
' James Fritzsche, etal_ vs. Metropo|ltah Life lnsurance Company, etal.
§
>ate Code User Judge
:/26/2007 Ncoc DARMSTRONG complaimr=ornamages And RequestFor.sury steve verby
Trial
DARMSTRONG Filing: A'l - Civil Compiaint, Nlore Thar\ 31000 No Steve Verby
PriorAppearance Paid by: Feaiherston Law
Firm Receiptnumber: 0000666 Dated:
2126/2007 Amount: $BS.OD (Checl<)
APER TAC|E Piaintiff: Fn`tzsche, Don L. Appearance Daniel P. Steve Verby
. Featherston
Sl\fl|S TAClE Summons Issued Steve Verby
4/5/2007 NSRV \/AL Nutice Of Service Stave Verby

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Metropolitan Life lnsurancc Company
One Metl_.ii`e Plaza

27~01 Queens Plaza North l 0 ®
rung lslard city, NY 11101 Me'l' Ll fe
rel 212 537-5595 Fax 212 251-1636

April 20, 2007

B Federal EX ress

Jaclc Englert, Esq.

 

Holland & Hart LLP
8390 East Crescent Parkway, Suite 400
G eenwood Villa e, Colorado 80111 t , ,
f g necessities
Re: l ames Fritzsch. et al. v. l\/IetLife. et al. ' g
District Ccurt / ldaho / County of Boundary APR 2 o ynn?
Case No. CV 07-75 HOLLAND&,H="'
_ . 4th a, naa£§r
Dear'.`lack:

Enclosed under this cover is a Summons and Complaint and related documents in the
referenced matter. We Would like your firm to represent MetLii`e’s interests in this matter.

This matter must be removed to federal court based on diversity jurisdiction as the
amount in controversy exceeds $75,000. MetLife was served on April 10, 2007. Please
‘ be sure to protect MetLife from default concerning the state eourt_answer date.

LAW

One means of settling a personal injury claim is an agreement by the injured party to
accept periodic payments in the form of a “structured settlement.” Sections 104(a)(2) and
130(0) of the Internal Revenue Code govern structured settlements The purpose of a
structured settlement in part, is to allow the periodic payments to be excludable nom the
gross income of the recipientl "l`hese sections of the Internal Revenue Code require that
there is a complete separation of ownership of the settlement funds from the personal
injury claimant

Secticn 130 structured settlements are accomplished by the assignment of the personal
injury carrier’s obligations under a settlement agreement to a third party. Typically, the
third-party assignee arranges for payment to the personal injury claimant throughpurchase
from an annuity issuer of a “qualiiied funding asset” in the form of an annuity contract

The rights cfa personal injury claimant who agrees to receive periodic payments under
Section 13 0 are governed by the terms of the settlement agreement pursuant to which his
personal injury claim has been resolved The personal injury claimant is not a party either

  

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to the assignment or to the “qualified funding asse ” although the provisions of those
documents reflect the terms of the settlement agreementl

Receipt of the Section 130 tax advantages is conditioned upon the complete separation of
ownership of the funds provided for payment of the settlement proceeds and the claimant
himself 'l`his is accomplished by the assignment of the obligation to make payments and a
deposit of funds for that purpose With the assignee A fundamental requirement evidencing
such an arrangement is that the payee or annuitant - in this instance, Blair or his

- beneficiary - does not have “actual or constructive receipt” of the structured settlement
proceeds To accomplish this, the payee must not have control over the annuity contract
into which the funds for the settlement are deposited Libertv Life Ass. Co. of Boston et
al. v. Stone Street Capital, lnc. and l ames J. White, 93 F. Supp. 2d 630 (D. Md. 2000).

The First Dcpartment addressed the rights of payees under structured settlements in

C.U. Annuitv Serv. Coro. v. Young, 722 N.Y,S.Zd 236 (l";t Dept. 2001). In Young, the
injured party entered into a settlement agreement that stated that he had “no power” to
assign periodic payments that would become due and payable to him under the terms of a
structured settlement The payee then entered into a transaction with a company engaged
in accepting “assigmnents” of the right to receive the periodic payments Li. The First
Department held that the assignment was invalid because that the rights of a payee under a
structured settlement “must begin with the express language of his agreemen .”
Accordingly, the payee could not purport to assign the periodic payments because “certain
legal abilities” the transaction required had been “surrendered” during the negotiation of
his settlement agreement l_d. at 23 7. `

' FACTS

Briefly, the Fritzsche defendants are payees under a MetLif`e Certificate No. l24369 in 1985
issued to fund periodic payments to Carol Cox Fritzsche under a structured settlementl
Carol. Fritzsche is deceased The defendants are respectively, the surviving spouse and
sons.of` Carol, who are named beneficiaries of the guaranteed payments under the
Certificate. '

The Certiiicate originally provided for guaranteed monthly payments up to and including
the last monthly payment due on May l, 2025. Effective Jun_e 1, 2005, each monthly
payment, until May 1, 2010, was payable in the amount of $5,500. ll-*"rom June 1J 2010
until May`l, 2025, each monthly payment was to be paid in the amount of $6000. The
amount of monthly payments nom lurie 1, 2005 until May 1, 2025 total $1,080,000.

MetLife does not dispute'that the $400,000 payment under the Certificate due on
May 1, 2010 is payable.

rl`he monthly payments referenced above are in issue as MetLife believes that they were
paid out in a lump sum at some time in the past The claims area bases this belief on an .
“income verification letter” prepared by a fenner l\/letLife employee, Foldine Farrell,

 

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that omitted reference to any payment past May 1, 2005. Apparently, this letter was
prepared by Foldine Farrell when Don Fritzsche entered into a transaction with J.G.
Wentworth, a company that purchases the right to receive payments under structured
settlement Note that J. G. Wentworth has a judgment against Don F.ritzsche and has issued
a Writ of` Execution against MetLife in the Court of Common in Philadelphia. J.G.
Wentworth should be joined as a party to this action after it is removed to federal court.

After review of the file, we can determine strategy and discuss a litigation budget for the
matter. ~

Please acknowledge receipt of the Complaint in writing
”l'hanl< you for your assistance
Very truly yours,

§/___/

Riith Susnick

Enc.

 
 
 

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t in Idaho, l\/IE'I`ROPOLITAN

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FEATI-IERSTON LAW FIRM, CH'I'D'.
DAN]EL P. FEATHERSTON - ISB#1324
Attorneys at Law

113 South Second Avenue

Sandpcint, ]D .83864

Phonc: (208) 263~ 686_6

Fax: (208) 263- 0400

]_N 'I_`HE DISTRICT COURT 'OF THE FIRST .IUDICIAL DISTRIC.T OF 'I`l-[E`,
STATE OF [DAHO, l_N AND FOR TI-IE COUNTY OF BOUNDARY

miss rmr'zsons nAvin ERICK_ - _
ease Ne.: Cv 07- 75

» _ _ ` sn'Miv_roNs
~ niagara - »
VS.

METROPOLI'I'AN LIFE R~ISURANCE,
COMPANY, a corporation doing business
REINSURANC-E COMPANY, a
corporation doing business in ldaho
ME".”IROPOLITAN INSURANCE
COMPANIES, a corporation doing

business in Idaho, ME’.TLIFE GROUP,
]NC., a New York corporation doing

, ~ Dcfendants.

 

B:‘ _ME'I_`ROPOLITAN LIFE H\TSURANCECOM.PANY, a corporation doing
business -iri Idaho, METROPOLITAN REIl\lSUR.ANCE COMPANY, a

corporation doing business' m Idaho, METROPOLITAN [NSURANCE
COMPANIES, a corporation doing business' m Idaho, METLI_`E`E GROUP, INC.,
New York corporation doing business' m Idaho, and JOHN DOES 1 10

_NOTICE: YOU .HAVE BEEN SUED BY THE ABOVE-NANIED I;LA]l\lTIFF. 'I`HE

COURT `MAY ENTER JUDGMENT AGA`INST YOU WITHOUT FURTHER
NOTICE UNLESS YOU RESPON]) W[THIN 20 DAYS. READ TH;E
]§NFORMATION BELOW: ` '

YOU ARE'HERE.BY NOT[F[ED that in' order to defend this lawsuit an appropriate Written
response must l`)`e`iii'ed-ndth_the_aho_ue-_d_esiguated_nolm. ndthin 20 days after service of this .
Surnmons on you. lf` you fail,to so respond, the court may enter judgment against you as

 

 

 

 

 

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summa-wm

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demanded by the Plaintiff in the Complaint.

A copy of the Complaint is served with the Summons. Ifyou Wish to seek the advice
or representation of an attorney in this matter, you should do so promptly so that your written
response, if any, may be filed in time and other legal rights protected

An appropriate written response requires compliance with Rule lO(a)(l) and other h
Idaho Rules of Civil Procedme and shall also include:

1. The title and number of this case.

. _2. It` your response is an Answer to the Complaint, it must contain admissions or
denials of the separate allegations of the Complai.nt and other defenses you may claim.

3. Your signature, mailing address and telephone number, or the signature, mailing
address and telephone number of your attorney.

4. Proof of mailing or delivery of a copy of your response to Plaintiff's attorney,as
designated above '

'l`o determine Whether you must pay a Eling fee With your response, contact the Clerk
of the above~named court

r)A'rsD sss §§.day or Febmary, 2007.

GLENDA POSTON
Clerl< of the Distcict Court

SUL'IB'IONS _ Pilgc 2

 

 

 

 

 

 

Case 2:07-CV-00196-BLW Document 1-1 Filed 04/27/07 Page 7 of 30

113 South Second Avenue
iandpoi-nt, Idaho 83864

t '208) 263~5866

zo_s) 263-0400 (Fax)

Pla_inarr,

VS.

`J\anrnoPoerAN LlFs assumes
JOLAPANY, a corporation_doing business

‘ .nIdaho, MIE'IROPOLITAN

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_`__

 

D_efendants.

lAMES FRITZSCHE, DAVID ERlCK-.
SON, DON FRJTZ,SCHH, fl<a_DON QOX,

R_EI'NSURANCE COMPANY, a
:orporation doing business' m Idaho
i\/£ETROPOLITAN INSUR.ANCE
JOMPANIES, a corporation doing
business in Idaho, l\/IE§TLIFE GROU.P,
J`NC., a New York corporation doing
usiness in ldaho, and JOHN DOES 1- ]O,

DANIE.L P. ' FEATHERSTON, ISB No.1324
"BATHERSTON LAW P`IRM, CHTD.

 

 

 

cos/iss Now the undersigned

I.

IURISDICTION

BY
DEPUTY CL¢":.`l"il’i

IN THE DISTR_'[CT COURT OF TI-IE`. Fl".RST IlJDlCL£tL DISTRICT OF THE
STA'IE OF IDAHO, ]N AND FOR THE COUNTY OF BOUNDARY '

case No.= cv 07- 75

costser nos DAMAGES AND
REQUBST ron JURY TRJAL

Fee Category: A l-

Fee: $ §§ §Z_)

naming Aisn ron cAUsE or ACTION

AGA.H\TST Defendants inform the Court and pray judgment as follows:

ASS§GNED TO

_ .iuoes_\/na:a`
ZOMPLAINT FOR DAMAGES AND REQUEST FOR JURY TRIAL 1

 

 

 

 

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This Court has jurisdiction and venue is proper as this is an action to enforce a
:ontract or contracts entered into between one or more of the Defendants for the beneiit_of the
Plaintit`fs to settle a lawsuit filed and prosecuted before this court as Boundary County District
pena case NOS. 7307 misses i-

l Il.

PARTIES

Pl. .T ames Fritzsche, l)avid E,rickson, and Don Fritzsche, herein are the husband and
lwo (2) sons of Carol Cox Fritzsche (Carol), who were by reason of such relationship
ldalnaged by the injuries to Carol herein described
B. Metropolitan Life insurance Company is a corporation doing business in Idaho,
Metropolitan Reinsurance Company is a corporation doing business in ldaho, Metropolitan

lite Insurance Companies is a corporation doing business in Idaho, Metlife Group, Inc., a

 

New York corporation doing business in Idaho, and John Does l - lO, defendants are other
person or corporations with the named Det`endant Who are responsible to Plaintift`s and their
identity is presently not l‘:nownl

C. Defendants are a company or group of interconnected companies Who engage in '
the business of selling insurance against risk of loss. One of the l)et`endants insurance
products is annuities to provide a continuous guaranteed flow of income to a beneficiary or
l)eneticiaries. Ones or more of the Defendants entered into the contract for the benefit of the
Plaintift’s which, is the subject of this complaint .Tohn Does l ~ 10 are companies or
successor companies engaged With or on behalf of the herein named companies

III.

GENER.AL STA'IEl\/£ENT OF FACTS

IIOMPLAINT FOR DAMAGES AND REQUEST FOR JURY TRIAL 2

 

 

 

 

 

 

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A. On January 26, 1982 Carol Cox Fritzsche (Carol) Was involved ina tragic-auto ~~
iruck accident on U. S. I-Iighway 95'1n Boimdary Ccunty, Idaho. The automobile Carol was
lim/ing was struck from behind by a truck pulling two (2) trailers loaded with height 'Ihe
truck struck Carol’s and other vehicles with such force that it pushed the vehicles across a
bridge over the Kootenai R.iver and into a building lc'_lling three (3) people, Kerri~ Willcerson,
Jourtney Rose_ I-Iale and Tami Ha.le and seriously injuring Susan Wilkerson and Carol Who

was rendered a parapalegic. As a result of these events lawsuits were Hled in this Court as`

 

ieqignan=d in paragraph I.

B. Carol’s lawsuit arising out of these events was settled m 1985. In part Carol her
husband and sons losses were settled by the tortfeasor agreeing to provide a continuing stream
of cash payments to Carol and upon her death to the Plaintift`s herein thereby compensating
lthem for their losses by reason of the terrible injuries Carol suffered These payments were to
be paid in monthly installments and at five (5) year intervals lump sums were to be paid in
addition to the monthly payments 'I'he amounts and dates of these agreed payments are more
particularly set forth on page three (3) of Bxhibit A attached hereto. This agreement provides

that said payments were to continue so long as Carol should live, but in no event Would they "'

 

terminate earlier than'June l, 2025 even if Carol should die before that date. The agreement
iatating the payment schedule (more particularly described in EXh.ibit A) provided"that should
Ca'rol die before 2025 the payments would from the date of her death until June 1, 2025 be

divided and paid 1/3 to each of the herein named Plaintiffs. 'I'he parties agreed that the __

l\ortfeasor would be fully, finally and forever released from feather liability to the injured

 

Jarties upon the purchase of atl-annuity from a reputable and reliable company in the business

)f providing such a product that would pay to the injured party and Plain`tiffs the agreed

- ZOMPLATNT FOR DAMAGES AND REQUEST FOR J'URYTRIAL ' 3 '

 

 

 

 

 

 

 

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payments .The Defendants represented to the public in general and to the tortfeasor and their
insurer, Carol, and Plaintiffs in particular that they Were a reliable and honest group of
:ompanies that could and Would provide such a product

C. ln reliance“upon the Defendants’ representations the tortfeasor and/or their insurers ‘

paid the Defendants a substantial sum of cash consideration of approximately one (l) million

 

ollars for l)efendants to pay Carol and Plaintiffs the agreed sums in accordance with the
ayment schedule as stated in Exhibit A. Iu reliance upon Defendant’s representation and
geement to pay the agreed sums Carol did fully, finally and forever release the tortfeasor
cm further liability and duties called for in their settlement agreement accepting Defcndant’s
greement and promises to pay the compensation as agreed to in the settlement agreement..
'l`he_ Defendants herein agreed to pay the amounts as outlined in abbreviated forrn=.in Exhibit A
pttached hereto thereby incorporated herein.

D. As agreed the Defendant commenced payments to Carol on August 1, 1985_ and
continued after her death on ianuary 1, 1995 paying to Plaintiffs the agreed payments as
stated on page 3 of Exhibit A.

E.- May 1, 2005 Defendant paid the agreed lump sum payment of $25 0,000.00 and
monthly payment of $5,000.00. Cornmencing June 1, 2005 and thereafter Defendant ceased
paying the agreed payments to the Plaintiifs. Plaintif.t’s initially contacted Defendant direct
and received no response Defendant refused to respond to Plaintiff in any manner or provide
?laintift' any information as to why payments were terminated

l F. Thereafter Plaintift` retained counsel who contacted Defendant by both phone and
letter, sending letters requesting and ultimately demanding Defendant either honor their

)bligation to pay Plaintiffs or show legal cause as to why they were by law or contract not

EOMPLAIN'I` FOR DAMAGES A`ND REQUEST FOR JURY TRML 4

 

 

 

 

 

 

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)bligated to Plaintiff. Plaintift`s counsel sent letters making such demands in July 2005,
l)ecember 2005, lanuary 2006, June 13th and 22“d, 2006 receiving no response 'These letters
:onstitute notice and demands for payment pursuant to Idaho Code 12-120, Idaho Code 12-
21 ana Idah¢ ages 41-1839.

G. The Defendant’s failure and refusal to pay Plaintiffs the agreed payments is and
liontinues to be Williil]., intentional and constitutes a bad faith breach of their duty to the
]’laintift`s.

1a .
CIRCUMSTANCES AS TO PLA]NT]ZFF JAMES FRITZSCI-[E _
The Plaintifl`, Jalnes Fritzsche (hereina&er referred to as lames) has reached The age

Where the income Defendants are obligated to pay combined with retirement benefits earned

 

ough his employment were suliicient to permit him to take an early retirement and engage .

n new activities while his health Would permit such. Plaintiff lamcs had in fact prior to May'

005 retired and commenced -the_hoped for new lifestyle. The Defendant’s failure and'-' ‘

ntentional refusal to honor their promise, obligation and duty to pay has made it necessary

‘ or him to realm to his former employment and to forego his early retirement plans.

lV.
C[RCUMSTANCEEl AS TO PLAINT]FF DAVID ERICKSOhT
The Plaintif_t` David Ericks`on (hereinafter referred to as David), is disabled and as a
result of his disability did prior to his mother’s death qualify for Social Security disability
income to in part replace lost earning capacity due to his disability and Medicaid, which
provided medical treatment for his disabling condition and other health requirements Upon

his mother’s death the income from the annuity disqualified him for Social Security Disability

COMPI.A]NT FOR DAMAGES AND REQUEST FOR JURY TRIAL 5

 

 

 

 

 

 

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income and Medicaici. David, of necessity relied upon the income from the annuity which
replaced in part this loss of beneiits. The bad faith termination of payments by Defendant has

leli; David Erickscn without funds to provide necessary support and health care needs and the

 

efendant’s arbitrary, unreasonable and bad faith refusal to respond to David’s requests for
ither the agreed payments or conhrmation that they have no duty under contract or law to
ay such has resulted in his continued disqualification by denying him the ability to establish
o the satisfaction of the appropriate public agencies that he is no longer entitled to receive
aid funds.. The Defendant-’ s arbitrary Willful and unreasonable response or lack of response
10 David’s requests has deprived him of necessary support and medical care.
V.
C]RRCUMSTANCES AS TO PLAINTIFF DONALD FRlTZS CHE

The Plaintiii' Donald Fritzsche (hereinafter referred to as Don) in reliance upon the
Plaintiff’ s contractual duty to pay him as shown in Exhibit A entered into certain business

iacmrnitments in reliance thereon Defendant’s bad faith default upon their duty to pay as'

 

greed in accordance with the schedule on Exhibit A has caused Don to default on his
usiness commitments andl as a result 'Don has been sued 'by the party to whom 'the
cmrnitments were made. v
VI.
PLAINTIFPS’ Fr.ssr cause or ACTION=
BR.EACl-l OP` CONTRACT

The Plaintiffs reallege and herein incorporate each and every allegation stated above.

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Dr:u’¢{:a seem `
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mf*"*”*“*"°° COM:PLAI:\:T FoR DAMAGES AND REQUEST FoR JURY TRLAL s
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mesa rw=:segm

 

 

 

 

 

 

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Defendant contracted to provide payments to the Plaintiffs. These payments were of
bn amount and time that was established by contract as set forth in Exhibit A.

VIII.

 

Under the terms of the contract, the Defcndant’s duty to pay Plaintift`s, both as to times
d authority are clear and unambiguous and are to continue until the year 2025.
ommencing J'une 2005 Defendant has reiilsed to provide any payments This is a bad faith
aterial breach of the Defendants’ clear unambiguous duty and obligation under the contract

ix.
As a result of the Defendants’ breach, Plajntiffs have been forced to initiate this
litigation seeking recovery of the monies owed to them under the contract Furthermore, the
efendants’ non-payment has placed PlaintiH Dcn Fritzsche in breach`of a contract .With a
bird party. Damages from the Defendant’s conduct are in an amount to be determined and
proven at trial but which exceed $10,000.00. d
`X.

Said damages were foreseeable at the time of contracting

XI.‘

 

PLAJNTIFFS' SECOND CAUSE OF ACTION:
ronrtous mTERFaRaNca tvrrn coN'IRACT_
The Plaintiffs reallege and herein incorporate each and every allegation stated above.
' X;u.

on br about May s*h, 1996, member 23"‘, 1997, and october 22““, 1998, nance

Mfénan.caw gram ar Don Fnetzsche executed Purchase Agreements between himself and the company, J.G.

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Mm]. 'VH'H:K‘,
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Wentworth. Under the terms of the contracts, Don Fritzsche sold his interest in future

:OMPLAINT FOR DAMAGES AND REQUEST FUR JURY 'I'RlAL . 7
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--......._.’.. ....... ..~. ....~»,...- -..- . .. .. . ....-......._. r.. ..¢». n . ...~~... ....,... .... ...... . . ..-.. ».-0 an men . , ~-

payments received as a beneficiary cf the Set_tlement Agreement With Carol Cox Fritzsche to
ieceive sufficient cash to engage in another business transaction Which in fact he did.

XIII.
l‘)efendant was informed of the Contract between Plaintift` Don Fritzsche and J.G.
Wentworth as Mr. Don Fritzsche assigned his interests in a_portion of his share of future
payments from the Defendant to J.G. Wentworth. Plaintiff Don Fritzsche notiied the
l)efendants of the assignment ofhis interest and of his obligation to J.G. Wentworth.

XIV. n
MetRe has refused to make payment of the monies owed to the Plaintiffs and J.G.
Wentworth. Multiple notices have been sent regarding MetRe’s conduct and its ramifications
)n the l’laintiff Don Fritzsche. Despite this information, MetRe has continued in its illicit bad

`ait‘n course of action. This intentional interference v`vith M_r. Don Fritzsche’s obligations has

 

 

'aused Mr. Don Fritz.sche to be in breach of his contract With J.G.- Wentworth.

 

XV.

As a result of Met.Re’s refusal to pay the Plaintiffs, Mr. Don Fritzsche is the defendant

- im negates baser by i.G: Weerwerse. said abuse enegee unjust ebnebment enabreebh er '

 

.ontract. J.G. Wentworth is seeking damages from Mr. Don Fitzsche inthe amount of
:;150,431.97. " `
XVI.
PLANI`IFFS’ 'I`HIRD CAUSE OF ACTION:
NEGLIGENCE
XV"[I

'I'he Pla'mtiffs reallege and herein incorporate each and every allegation stated above

COMPLA]'NT\FOR DAMAGES AN'l_J -REQUEST FOR J'URY 'I'RIAL 8

 

 

 

 

 

 

Case 2:07-CV-00196-BLW Document 1-1 Filed 04/27/07 Page 15 of 30

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' _ mr
Defendant has a duty of good faith and fair dealing in the performance of itscontract.
'l"his duty arises independently from the contractual duties assumed by the Defendants.
XIX:, ,
By refusing to address, resolve, or even correspond with the Plaintiffs regarding

]Jefendant’s discontinuance of payments, Defendant violated its duty of good faith and fair

lealng in the performance of its contract duties to Plaintiff. '

 

}D{.
Said breach has proximately caused damage to the Plaintiffs.
XXI.
Damages have occurred in an amount to be determined at trial but which exceed ten
1housand dollars ($10,000.00).
XX_II. l
PLANTIFFS’ FOURTH CAUSE OF ACTION:
INSUR_ER’S BAD FAITH -
eer
The Plaintiffs reallege and herein incorporate each and every allegation stated above.
XXIV.
Defendant’s payment of the benefits provided to the Plaintiffs are-payment of the

settlement agreement between Carol Cox and the Defendant insurance providers Payments

rendered under the settlement agreement by the Defendant insurance providers are

contractual, ascertainable, and based upon determinable risk contingencies within the

determination ofI. C, § 41-] 02.

IONIPLAINT FDR DAMAGES AND REQUES'I` FOR J'URY TRIAL - 9

 

 

 

 

 

Case 2:07-CV-00196-BLW Document 1-1 Fi|e`d 04/27/07 Page 16 of 30

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)Q{V.
'I'he insurers have intentionaliy, mneasonably, and deliberately and in bad faith denied
payment to the Plainti_ffs.
l “ XXVI.
The Plajntiffs’ claim i_s not fairly debatable Under the terms of the contract,
l)efendants are clearly and unambiguously obligated until 2025 to pay the installments to
l’laintiffs as denned on Exhibit A. The payment amounts and dates are plain, unambiguous
ia.ud predetermined

`X`XV]I.
'The Defendants’ failure to pay on the claim Was not the resulth a good faith mistake
Defendants’ have continued to act in bad faith as they have rentsed to make all payments

iubsequent to the last payment made in 2005 despite Plaintiff"s repeated requests that'they do

 

o. Further support of the Defendants’ bad faith is evidence by Defendant"s refusal to answer
iiepeated inquiries and requests for payments and/or information
}QCVIII.

The resulting harm is not fully compensable by contract damages PlaintiffDon
liritzsche has been sued for breach of contract by I.C‘r. Wentworth for the Defendant’s refusal
itc pay the amounts owed. Plaintiff Jame`s Fri_tzsche bad to forego early retirement and
Pla:intiff David Erickson has been denied necessary‘support and medical care. Said damages

are in an amount to be detennined at trial but which exceeds ten thousand dollars

`$10,000.00).
XXIX.
PLAJNTIFFS’ FIF’IH CAUSE OF ACTION:
:oMrLAn~rr ron clemons AND nsonssr son .mnv TRIAL ` m

 

 

 

 

 

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Case 2:07-CV-00196-BLW Document 1-1 Filed 04/27/07 Page 17 ot 30

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l contract By statutory and contract provision, the Plaintiffs' are entitled to and shall be

RECOVERY OFA'ITORNEY‘S FEES
XXX.
- The Plaintift`s reallege and herein incorporate each and every allegation stated above.
XXXI. .
The Plaintiffs have complied With all provisions of law and terms of the contract V'I'he

Defendants have failed and/or refused to comply With Idaho law and/or the provisions of their

provided recovery of her attorneys' fees and costs incurred specifically as provided by Ia'aho

 

f'ocz'e § 41-1329, 12-120; 12-121 and other related provisions The Plaintiffs are entitled to

udgment as plead and attorneys’ fees and costs. In the event judgment be entered upon the
nefault of the Defendants, such amount should be` $10,000.00 or if contested such greater

amounts as the Court deems just and equitable 7

WI-IE`,REFORE the Plaintift`s pray for' judgment as follows:

l. Judgment for all amounts Defendant has been obligated to pay Plainti:fit`s commencing

June 2005 and each and every payment thereafter as stated in Exhibit A attached,

until paid together with pre-judgment interest at the rate of twelve percent (12%j as

provided by Idaho Code 28-22-104.

\
¢\.r
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Judgment in favor of the Plaintiff for damages, special and general, in an amount to be
proven at trial but which exceed $10,000.00.

.S. ` `_ _ _ _`A.u_crder directing Def`endant to continue payments of amounts called for in Exhibit A
from entry of ludgment until .Tune l, 2025.

4. .Tudgment for attorney’s fees in the amount of $10,000.00 if judgment be entered upon

Default or such greater amount as the Court deems just and equitable if contested

l|l`OMPI..All\l'I` FOR DAMAGES Al‘l'D REQUEST FOR JUR‘¢r 'I'R]`.AL ll

 

 

 

 

 

 

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5. Such other and further relief as the Court deems appropriate
6. Judgment to bear interest as provided by lavv.
7. .l'udgrnent finding the Dei`endants to be jointly and severally liable for the Plaintiff's
damages
8. For such other and further relief as this Court deems just and equitable
W}IEi{EAS the Plaintifti=, have alleged causes of action for Which they are entitled to
relief, the Plaintitfs pray for judgment as follows: -

RESPECTFULLY SUBlVllTTED this 43 day of Z`M; , 2007.

FEA'[HERSTON LAW FIRM, CHTD.

   

- ’ l'L P. FEATHERSTON
Attorney for P]aint;i§`

stare on mario )

) ss.
County ofBonner )

names FRiTzscHn, being are duly Swom on aaa depose aaa says aaa he a the

Plajntift' in the foregoing action; that ~`.le has read the Cornplaint herein contained knows the

  
  

contents thereof, and believes the facts therein stated to b

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§§qu st\?§gne before me this l 5 day of F(£~. , 2007.

    

.-`;\O oTAnY PUB c- sane orleans
/,// ?`£ OF \D[>`\\\\ Residing at
’/H: 11\1_\ " Cornm.ission expires: /£; dzz/J?

COM`PLAINT FOR DAMAGF.S AND REQUEST FOR .TURY 'I'RIA.L 12

. ... ...,¢.. :¢... .. ...

 

 

 

 

 

Case 2:07-CV,-00196-BLW Document 1-1 Filed 04/27/07 Page 19 ot 30

.K
Ccunty ofB_onner )
.DAVID ERICKSON, being nrst duly swom on oath, deposes and Says that he is the

Plaintiff in the foregoing action; that he has read the Complaint herein contained lmows the

ll

contents thereof, and believes the facts therein stated to be true.

l
_ \\u\\ ‘ 1 H u,,/ - nAvro ERICKSON, 111-aaer
"`\;a\» 91 .i.:'.EZq.?"’>' ”/, '
@bsinb`e'd and ` 530 before me this 13 day of 622 ,_. , .
2007 _';- `I". NOTAF¢‘ '. ..-\'.", ____
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CDM]'LAINT FOR DAMAGBS AN'.D REQUEST FDR J`URY T`R]AL

Case 2:07-CV-00196-BLW Document 1-1 Filed 04/27/07 Page 20 ot 30

 

§ STA'I'E OF lDAHO )
` . ) ss.
County of Bonner ) ` ;‘ “

€.
DON FRITZSCHE, being first dul§;sworn on oathJ deposes and says that. H' is the

Plaintiif m the foregoing action; that Ehas read the Complaint herein contained knows the

 

 

Subscribed and sworn to before me this ¢Q/j

t santa csra mass M%v
NOTARV FUBL|C go §ARY PUBLIC- Slate Of Idahof_
j _,__'§,T£,E.QD¢HO ssion expires: [Z ” ‘/“MUY

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COl'v[PlA]NI` FOR I)AMAGES AN`.D REQUEST FOR JURY T.RIAL 13

 

 

 

 

 

 

Case 2:07-CV-00196-BLW Document 1-1 Filed 04/27/07 Page 21 of 30

Metropolitan Life

AND AF`FILIATED COMPAN|ES

Metropo|itan Life Insurance Company

A-Mutuai Compsny incorporated ln Nsw Ycrk Siete

Metropoiitan Life insurance Compeny (herein csiied Metrcpoiitan) certifies that it witt make the payments de-
scribed in this certificate

 

 

Group Annuity Contract No.
_ 3298
Certificate NO.
' 24369
Msasuring Life

 

Carcl Cox F):':[tzsche

 

Date cit Birth of Measuring Lite ‘
January 25, 1951

 

Owner:
Metropolita.n Reinsu;'ance Company

 

Annuity Cornmencement Dete
_ August: 1, 1985

 

Be"efi°iary m any) 1/3 to James Fritzsc'he, 113 to Ds.v;i.d Er:i.ckeon, and while a
mincr, to Dav:l.d Erickson in Trust with James Fritzsche, Trustee

and 1/3 to Doi_;x Cox, and while a minor,' to born Co:c in Trust: with
_ James l"ritzsche, T`rustee 7

 

 

 

 

 

10 DAY FI|GHT TO EXAM|NE CERTIFICATE

ii the Owner returns this certificate to Metropoiitan within 10 days after its receipt and requests in writing that

Metropo|itan cancel the certiHcate. Metropciitah will do so, and refund the amount received to purchase the
annuity.

FOi‘m G.4324

 

 

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nghts ot Owner: The Owner owns the annuity described in this certificate The Owner will have the right at
any time to designate the payee. including the Beneiiciary, to whom benefits are payable under the annuity
However, unless the Owner otherwise directs. Metropolitan will make atl payments under the annuity to the
person(s) named in the certificate.

fn addition. at any time after the death of the Measuring Lite, the Owner may direct Metropotitan to pay, in'lieu
of any term certain annuity payments described in this certificate the commuted value of all remaining term
certain annuity payments in a single sum to a payee named by the Owner. The commuted value of such an-
nuity payments will be calculated using the same interest rate(s} as that used ln determining the purchase
price of the annuity

No such change in payee cr terms of payment witt be effective until written notice of the change is received
by Metropolitan. l-iowever. any change in a Beneiiciary designation witt take effect as of the date the request
was signed but without prejudice to Metropoiitan on account cf any payment made by it before receipt of the
request When contacting Metropoiitan the Owner should mention the Contract number and the name and
certificate number of the Nleasuring Life.

Proof of Living: Metrcpoiitan may require proof that the Measuring Life, the' Bene&ciary or other payee as
the case may be. is living on the date on which any annuity payment is to be made. if proof is recrueste`c.tl no
payment will be made until the proof has been received by Metropclitan. -

'Beneftciary: if two or more Beneticiaries are designated and their respective interests are not speci fied.':their
interests will be several and equal. '

change or Waiver: No saies representative or other person. except an authorized officer of Metropotitan.
may make or change any certificate cr make any binding promises about any certificate on behalf of Metro-
poiitan. Any amendment modification or waiver of any provision of this certificate will be in writing and may '
be made effectiveon behaff of Metropol|tan oniy by an authorized officer cf Metropolitan.

Misstataments: |f the age or sex of the Measuring Lite or any other relevant fact has been misstated, Met-
ropotitan wilt not pay a greater amount of annuity than that provided by the actual amount received to pur~
chase the annuity and the correct information Any overpayment _ci annuity wiil, together with interest. be
deducted from future annuity payments Any underpayment ci an annuity wiii, together'with interest. be paid ,
immediately upon receipt of the corrected informationl The interest rate(s) will be that used in determining the
purchase price of the annuity.

Ncnassfgnabilfty; Clafms of Creditors: T_his certificate and the payments provided under it are nonas_sign- -
able and witt be exempt from the claims of creditors to the maximum extent permitted by |aw.

FDrm G.4324 2

 

 

 

Case 2:O7-CV-00196-BLW Document 1-1 Filed 04/27/07 Page 23 of 30

Payment-ot Annuity: Metropolitan will make payments under this_certificate. as follows:`

On and after the Annuity Conmencement Date and while the Measuring Life is
living, but in any case up to and including May l, 2025, Metropolitan will
pay monthly annuity payments to the payee named by the Owner. If the
Heasuring Life dies before May 1, 2025, and'uuless the 0wner directs
otherwise, Hetropolitan will pay to the Beneficiary, up 'to and including.
Hay l, 2025, the monthly annuity payments that are-payable after the death

of the Measuring Life. The rate of the monthly annuity payments is shown f
in item (l) below.

(1) Monthly Rate of Annuity:

Period Amount

August l, 1985 through May l, 1990 $2,500.00
June 1, 1990 through Hay 1, 1995 $2,800.00
Jnne 1, 1995 through May l, 1999 $3,300.00
June l, 1999 through May l, 2000 $4,500.00
June 1, 2000 through May l, 2005 ' $5,000.00
June 1, 2005 through May l, 2010 $5,500.00
June l, 2010 through May l, 2025 $5,000.00

On and after June 1, 2025 for Life . $6,000.00

Metropolitan will also make the payments shown in item (2) below to the
payee named by the Owner. However, if the Measuring Life is not living on
the date any such payment is payable, and unless the GWner directs-other-
wise, Metropolitan will pay such payment to the Beneficiary.

Amount of
(2) Dace of Pay§ent _ -1 Paz§ent' 5
bray t, 1990 ~ $ 40,000.00
rey 1, 1995 ' t 54.600.00
bray 1, 2000 ` $150,000.00.
May 1, 2005 ` $250,000‘.00'
bray 1, 2010 $400,000.00

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FEATHERsroN LAW FIRM,§:HTD. @@
DANFsL P. FEATHERSTON, rs No. 1324 OM
Attorneys at La.W ' - y

113 South Second Avenue
Sandpoint, Idaho 83864
(208),263-6866

(208) 263»0400 (_Fax)

]l`l THE DISTRICT COURT OF THE FIRST .]'UDICIAL DISTRICT OF THIE
STATE OF IDAHO, I`N AND FOR THE COUN'I`Y OF BOUNDARY

JAMES FRITZSCHE, DAVID ERICK-

SON, DON FRITZSCHE, i'ka DON COX, Case No.: CV 07~75

N'oTICE on sERVICE
Plainsff, ,

VS.

METROPOLITAN LIFE INSURANCE,
COl\/£PANY, a corporation doing business
in lda.ho, WTROPOLITAN
REINSURANCE COMPANY,. a
corporation doing business in Ida.ho
METROPOLH`AN INSUR.ANCE
COMPANIES, a corporation doing
business in ldaho, METLIFE GROUP,
lNC., a New York borporation doing
business in Idallo, and JOHN DOES 1~10,

l sEoEz\/Eo
APR 1 l 25le

.` -LaW D@Darlment
Defenclants.

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COME NOW the Plajntiffs, JAMES FRlTZSCl-IE`., DAVID ERICKSON and DON
FRITZSCHE, fica DON COX, `by and through their attorney of record undersigned, and notify
the Court that on the& day of March, 2007, they served tlie following dooument(s) upon
the Defendants by`sending such along With the Complaint on tile herein and a Suanmons to a
process server for service upon The Defendants:

7 Plaintiffs’ First Request for lutelrogatories, Requests for Examjnation of Dooumenrs and
Requests for Admissions

Ihat said documents Were mailed, postage prepaid, along With a copy of this Notice of

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Service, to: Attorneys Messenger Service

 

1407 Vista Avenue
Boise, ldaho 83705
DATED this ge day Of Marclr 2001
FEAT:?>STON LAW F
BY? . 15a/er jj c - ` 7 ‘/_-
'/BANIEL P. FEATHERSTON
Attorney for Plsinti§s

NOTICE OF SERVICE - 2

 

 

 

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FEATHERSTON LAW F]RM, CHTD.
DANIEL P. FEATHERSTON

Attomey at LaW

113 South Second Avenue

Sandpoint, lD 83 364

(208) 263-6866

(208) 263~0400 (Fax)

IN THE DIS'I`RICT'COURT OF 'I'HE FIRS'I` JU])ICIAL DISTRICT OF 'I`HE
STATE OF IDAHO, IN AND FOR THE COUNTY OF BOUNDARY

.TAMES FRlTZSCI-[E, DAVID ERICK-
SON, DON FRITZSCHE, flra DON COX,

Plaintiff,
vs.

MBTROPOLITAN LIFE lNSURANCE,
COMPANY, a corporation doing business
in Idaho, METROPOLITAN
REINSURANCE COl\/£PANY, a
corporation doing business in ldaho
METROPOLITAN ]NSURANCE
COMPANIES, a corporation doing
business in ldaho, METLIFE GROUP, ' '
lNC.,a New York corporation doing
business in Ida.ho, and J`OH`N DOES 1-10_,

Defendants.

va\-/VWV\JV\_/V\JVV\\J\_/\J\J\-/\_/V

 

Case NO.: CV 07-

PLAIN’I`IFF’S FIRST REQUEST
FOR INTERROGATOR`[ES,
REQUEST FOR EXAMINATION
OF DOCUIVIENTS AND R.EQUEST-
FOR ADMISSIONS

TO: The above named Plaintiff(s) and your/their attorney(s)

You are hereby directed to: (1) answer under oath the following hiterrogatories within

thirty (30) days, separately and completely, pursuant to I.R.C.l:’7 33(a); (2) to produce legible

copies of the documents and things particularized causing the delivery or service of the same

REQUEST FOR WTERROGATORIES, RE.QUESI' FOR EXAM]NATION OF DOCUMENTS A.ND

REQUEST FOR ADI\'I]SSIDNS - 1 ‘

 

 

 

 

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to be made upon the law office oi` FEA'I`I-IERSTON LAW FIRM, 113 S. Second Avenue,
Sandpoint, Idaho, 83864, within thirty (30) days of receipt of Service pursuant to I.R.C.P.
34(a); and (3) to admit or deny the following Requests within thirty (30) days, pursuant to
I.R.C.P. 36(a).

As to Plaintii`t‘s Request for Admissions, pursuant to I.R.C.P. 36(a) the following
requests for admissions are to be answered pursuant to said rule, within fifteen (15) days of the
date of service of the sarno upon yod. Upon your failure to answer the same, the Requests shall
be deemed admitted gm

As used herein, the term "you" is intended to include, in addition to the named party,
counsel for said party, and all agents, servants, employees, representatives private g
investigators, and others who are in possession of or who have obtained information for or on

behalf of the named party(ies).

Each document or thing produced should be segregated by reference to the number of _

original, the undersigned reserves the right to examine and, in the event of any discrepancies
noted, arrange the reproduction of such original on demand

111 Answering these Requests, the following definitions and instructions apply:

l. The term "document" as used -herein means all records, reports, papers,
documents, books, letters, notes, memoranda and other correspondence, whether in your
possession cr under your control or not, and to include, without lindtation, tape recordings
and!or transcripts thereof, photostating, photographing and every other means of preserving
verbatim or summary record of any form of communication or representation including letters,

words, pictures, sounds, symbols, or any combination thereof.

REQUEST FOR JNI'ERRDGATORIES, REQUEST FOR EXAI\C[I'H'A'I'ION OF DOCUM`ENTS AND
REQUEST FOR ADM]SSIONS - 2

l

 

 

the specific request Although a photocopy of any written material is acceptable in lieu of the `- -

 

 

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tavares-cass
gagnon 253-moa

 

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2. A document "relating or referring to" a given subject matter means any
document or communication that constitutes contains, embodies, comprises, reflects,
identities, states, is incident to, deals with, comments on, responds to, describes, involves,
concerns, analyzes, or is in any way pertinent to that subject, including, without limitation
documents concerning the presentation or other documents

3. The term`"aiiiliates" means any person or organization controlling, controlled
by or relating to the party referred to.

4. Attached hereto and made a part hereof are Exhibits A through E as referenced

in these Interrogatories, Requests for Produotion of Documents, and Requests for Admissicns,

as follows:
Eidiibit A - Certiiicate of Annuity
Exhibit B ` - December 13, 2005 Letter
Exhibit C - June 29, 2005 Letter
Eidribit D - June 13, 2006 Letter
Bxbibit E » June 22, 2006 Letter_

'I_hese'hrterrogatories, Requests for Admissions and Requests for Production of ' '

Docmnents are continuing in nature and the undersigned counsel hereby demands that any
information coming into the possession of you or your counsel which would change the
answers in any way be promptly furnished to the'undersigned counsel no later than thirty (30)
days after receipt of such inforrnation, or immediately upon receipt of the same if there be less

than thirty (3 0) days remaining before trial. _

MR_E§

REQUEST FOR B‘ITERRGGATORIES, REQUEST FOR EXAM[NATION OF DDCUM_ENTS AND
REQUEST FOR ADlVHSSIONS - 3

 

 

 

 

 

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l.NTERROGATORY NO. 1: State the name and position with or relation to the
Defendant:s herein of each and every person participating in the response to the herein

requested interrogatories, requests for production and requests for admission Your response

' should include all persons Who are the sources for your responses

ANSWER:
H‘J'I`ERROGATORY NO. 2: The caption on Exhibit A attached states “Metropolitan
Life and Aiiiliated Companies”-, list the "afEt]iated companies" and as to each ”afiiliate

company" state their relationship if any to the transaction described in Bxhibit AN Your

response should include the name, address, nature of entity, jurisdiction under Whose authority

it is formed and the jurisdictions it is authorized to conduct business in.

ANSWR: _

mrsanocAroRY No. .3: stare ne neandaas= relationship and involvement in the
transaction described in Exhibit A and what records the Defendants hold concerning said
transaction their present location and custodian

ANSWER:

' INTERROGATORY NO. 4:` State the date and amount of consideration the

Dei`endants Were paid or received to enter into the transaction described in Exhibit A.

AN S_WER:

]NTERROGATORY NO. 5: State What payments the Defendants have made to
Plaintiffs under the contract described in Exhibit A. You may respond by providing a ledger or

computer print out of your records of payments made

REQUEST FOR [NTERROGA'I`OR[ES, REQUEST FOR EXAM]NAT]ON OF DOC'UMENTS AND
REQUESI` FOR A.DMISSIONS - 4

 

 

 

 

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REQUBSTS FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. l: Please produce the original documentation of
agreement and approval by the Defendants concerning the Agreement or Contract described
Exhibit A attached

ANSWER:

REQUEST ron PaooucrroN No. 2; 'Ploaso produce the noroodoos= `rooord of
consideration received by reason of the transaction described in Exhibit Ai

ANSWER:

REQUEST FOR PRODUC'HON NO. 3: Please provide the Defendants’ records of
payments paid pursuant to the transaction described in Exhibit A.

RBOUEST Ft)R PR.ODUC'IION NO. 4: Please provide the correspondence or your
copy thereof by Defendants to Plaintiff cr PlaintiEs’ attorney and correspondence received by
Defendants from Plaintift`s and Plaintift`s’ attorney.

ANsWErc _

~Rnou'ssrs ron ADMIssIoN
REouEsr ron ADt\/nssron No. 1: rao uofoodaon roooivod, main too (10) days

of the date on each letter,'the four (4) letters attached hereto marked as Exhibits B, C, D and E.
l ANSWER:
REQUEST FOR ADM[SSION NO. 2: Defendants have a duty to pay Plaintift`s in
accordance with the schedule of payments on page 3 of Exhibit A.
M: n

d REOUEST FOR ADMISSION NO. 3: Subsequent to May of 2005 the Defendants

'REQUEST FOR MERROGATORIE`S, REQUEST FOR EXAMI]`¥ATIC|N OF DOCUMENTS AND
REQUEST FOR ADM[SS[ONS - 5

 

